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          EXHIBIT 28
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  16 Men Died in New York City Jails Last Year.
  Who Were They?




  Lezandre Khadu’s 24-year-old son died awaiting trial last year after developing
  seizures in jail. Credit... Mary Inhea Kang for The New York Times


  The stories of those who died in custody offer an intimate, firsthand
  look at the crisis gripping the New York City jail system.

  Lezandre Khadu’s 24-year-old son died awaiting trial last year after
  developing seizures in jail.
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  Credit...

  Mary Inhea Kang for The New York Times

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  The first to die last year was found in January, hanging from a
  sprinkler head in his jail cell just a week after his arrival. The second
  was found strangled about a month later, his head forced through a
  slot in his cell door in what was later ruled a suicide.

  The weeks and months that followed brought more deaths in New
  York City’s Rikers Island jail complex. Another hanging, in a shower
  cell used for washing off pepper spray; an overdose on drugs that
  aren’t supposed to be in jails. A sudden medical emergency. A bout of
  viral meningitis. A case of Covid-19.

  At least 16 people died in the custody of New York’s troubled jails in
  2021. Most were awaiting trial and died on Rikers Island, the
  notorious 90-year-old warren of cellblocks separated from the city’s
  mainland by the East River.

  The deaths have received outsize scrutiny compared with years past,
  with many seemingly preventable, especially after recent reforms put
  in place at the jails and the emptying of thousands of inmates during
  the pandemic. Inmates were found hanging from the ends of
  makeshift nooses or slumped from drug overdoses in a place with a
  basic responsibility to keep each inmate safe from harm, pending trial
  or release.

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  These men make up a tragic fraternity of strangers, linked by their
  common ends. Some were past middle age, others in their prime.
  More than a few fought crippling addictions. Many had lifelong mental
  health issues. One was a handyman. Another a new father. A third
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  was an attentive son. There was also a serial thief, a stalking suspect
  and a man accused of threatening to inject a stranger with H.I.V.

  There have been worse years at Rikers: In 2013 there were 23 deaths,
  and that number routinely rose above 30 in the 1990s. In 1990 alone,
  96 inmates died in custody. But last year’s number is striking in light
  of how steeply the jail population had declined in 2020 compared with
  previous years, when the system often held at least twice as many
  people. The population rose gradually in 2021, ending the year at
  prepandemic levels but still far below the 1990s and early 2000s.

  All but one of those who died were Black or Hispanic. They faced a
  constellation of charges, from parole violations to robbery, assault,
  even murder. At least six died by suicide, and at least three others by
  overdose. Most of the deaths might have been prevented by basic
  oversight, but since the beginning of the pandemic, jail employees had
  been overworked and reporting sick and staying away by the
  hundreds.

  Awaiting the outcomes of their cases, these men died unseen, away
  from family and, in most cases, from doctors or correction officers
  charged with watching over them.


  ‘I don’t think I’m going to make it’

  Stephan Khadu was a healthy 22-year-old when he was locked up in
  December 2019 on charges of conspiracy to commit murder. At the
  height of the pandemic, he defended the jail’s officers when his
  mother, Lezandre Khadu, 39, would criticize them.
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  Ms. Khadu with a cardboard portrait of her son, Stephan, that her sister gave her.
  “He is a son, he is a brother, he is a father, he is a grandson, he is a nephew,” Ms.
  Khadu said. Credit... Mary Inhea Kang for The New York Times


  “He’d say, ‘Mom, what is wrong with you? They work three or four
  tours,’” Ms. Khadu said, describing a time her son shared a
  commissary pastry with a hungry officer.

  But he also related frequent encounters with officers wielding the
  potent Cell Buster pepper spray that they carry on their belts. He told
  her they sprayed it so often that he had gotten used to it.

  By this past summer, after 20 months in jail, Mr. Khadu began
  suffering seizures, which his mother said he had never had before. In
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  September, he was being held at the Vernon C. Bain Correctional
  Center, a floating jail barge just north of Rikers Island. Another inmate
  found him bleeding from the mouth and helped Mr. Khadu to his feet.
  They went for help but were met by officers who were dealing with a
  fire in another cell, and the officers pepper-sprayed the two inmates,
  Ms. Khadu said.


  The Crisis at Rikers Island

  Amid the pandemic and a staffing emergency, New York
  City’s main jail complex has been embroiled in a continuing
  crisis.

     2022 Deaths: Sixteen people died in the city’s jail system last year,
     the most since 2013. Deaths this year are on pace to be even
     higher.
     Gaming the Numbers: Louis Molina, New York City’s jail
     commissioner, pushed for a dying man’s release from Rikers in an
     apparent bid to limit the prison’s death count.
     Inside Rikers: Videos obtained by The Times reveal scenes of
     violence and offer vivid glimpses of the lawlessness that has taken
     hold.
     Decades of Dysfunction: For years, city officials have presided over
     shortcuts and blunders that have led to chaos at the jail complex.

  Her son was hospitalized that day for his seizures and died. He was
  24 years old, the 12th inmate to die in 2021. “He is not just ‘Number
  12,’” Ms. Khadu said. “He is a son, he is a brother, he is a father, he is a
  grandson, he is a nephew.”

  The city medical examiner ruled that Mr. Khadu had died a natural
  death caused by a meningitis infection, probably viral, raising
  questions about the medical treatment he received in custody.

  Victor Mercado, an older man who died in Rikers, was also supposed
  to be receiving medical care there. Forced by poor circulation to use a
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  wheelchair, Mr. Mercado had been held in a jail infirmary since he was
  arrested in July on a gun charge.

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  In telephone calls from the jail, Mr. Mercado, a Bronx handyman with a
  heroin habit, told his childhood friend Ray Rivera that the system was
  taking few precautions against the spread of Covid and that he was
  afraid of getting sick, Mr. Rivera said.

  “He said, ‘Listen, they’re putting mad sick people in here, everybody’s
  on top of each other,’” Mr. Rivera recalled.

  When Mr. Mercado caught the virus, Mr. Rivera urged him to stay
  positive, but his friend’s outlook was darkening. “He said real clear, ‘I
  don’t think I’m going to make it,’” Mr. Rivera said.
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  Ray Rivera, a friend of Mr. Mercado’s, tried to keep his spirits up but said Mr.
  Mercado was pessimistic about his chances after contracting Covid. Credit...
  Mary Inhea Kang for The New York Times


  That was on a Sunday. Mr. Mercado died the following Friday, Oct. 15
  — about two weeks after his 64th birthday.

  That same week, a 58-year-old autistic man with a lengthy arrest
  history named Anthony Scott was once again in custody, accused of
  punching a hospital nurse in the face. He had been locked up dozens
  of times since his 20s, but this time, as he was about to be transferred
  from a Manhattan holding pen to Rikers Island, Mr. Scott hanged
  himself — death number 14.
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  ‘A crisis for persons in custody’

  New York City’s jail system has long struggled to prevent people in
  custody from harming themselves.

  On the day Mr. Scott died, the city Board of Correction, a jail oversight
  panel, issued a report that described failures in a case of attempted
  suicide and noted that the breakdowns had become increasingly
  problematic after the pandemic began.

  In November 2020, an inmate hanged himself in the Manhattan
  Detention Center while a correction captain stood by and forbade a
  subordinate from intervening, prosecutors said when they later
  charged the captain with criminally negligent homicide.

  That was one in a soaring number of episodes of self-harm in the jail
  system since the beginning of the pandemic, and a foreshadowing of
  what would occur in 2021. By last September, at least five suicides
  had taken place in the previous nine months after more than two
  years without any, prompting the Correction Board to declare “a crisis
  for persons in custody.” At least one more suicide would follow, and
  yet another death — still under investigation — seems likely also to
  have been a case of self-harm.

  Inmates with histories of self-harm are usually flagged for special
  observation. But a lack of direct supervision from the staff led to
  conditions that allowed men to take their lives in several cases last
  year.

  Javier Velasco of Queens was described as a loving husband but
  protective to a fault — he wouldn’t let his wife go to the grocery alone.
  When he drank, these qualities hardened and darkened, turning him
  menacing and violent, said his widow, Amanda Velasco.
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  She filed for divorce in what she said was an empty threat aimed at
  changing his ways. Ms. Velasco told the police in September 2020
  that Mr. Velasco had broken into her apartment, stolen property and
  sent her threatening texts. He was jailed and released in February
  2021, when he sent her more threatening texts. He was arrested
  again, sent to Rikers and, in March, he told her she was safer without
  him. Then he hanged himself. He was 37.

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  “He loved me and he loved my children. He did everything for us —
  everything,” Ms. Velasco said. “He’s not just this crazy obsessed man.”




  Photos of Segunda Guallpa and his family surrounding the urn holding his ashes.
  Credit... Mary Inhea Kang for The New York Times


  Another inmate, Segunda Guallpa, married and started a family in
  Ecuador before moving to New York in 1988. He was hurt in a
  construction accident and, when the family lost their home last year,
  began drinking heavily, which made him abusive, one of his sons,
  Francisco Guallpa, said. In August, after having been arrested on
  charges of domestic violence, he took his life in Rikers Island. He was
  58.
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  “When he was sober, he was a perfect father,” Francisco said. “He was
  always there, cooking, taking care of us. He was very attentive. He
  must’ve just been desperate in the end.”




  Mr. Guallpa’s children, Francisco Guallpa, left, and Alexiss, with their mother, Luz
  Gualman. “He must’ve just been desperate in the end,” Francisco Guallpa said.
  Credit... Mary Inhea Kang for The New York Times


  Brandon Rodriguez, 25, had fled New York City when the coronavirus
  arrived, moving to Indiana, where he worked at a Wendy’s. “He was
  doing good,” said his mother, Tamara Carter, 44. “I wish he’d stayed
  there.”
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  He was given a diagnosis of multiple sclerosis and returned to New
  York, where his troubles with the law, which had begun before the
  Indiana move, resumed, his mother said. He had struggled with
  mental illness since he was a boy, she said, and he had gone off his
  medication in recent months.

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  He was arrested on domestic violence charges in August. Six days
  later he was found hanging in a shower cell where inmates are sent to
  wash off the Cell Buster spray.


  ‘Not just a detainee’

  The smuggling of illegal drugs into city jails is another chronic
  problem, despite investigations and changes in security screenings.
  Visitors and staff members alike have been charged over the years
  with carrying drugs and other contraband to inmates. Visitation was
  halted at the city’s jails for more than a year during the early
  pandemic, resuming only in June; the regular discovery of narcotics
  among inmates during that period suggests that at least some drugs
  at Rikers must have come from the staff.

  In May, seven correction officers and two other correction employees
  were charged with smuggling synthetic marijuana, liquor, scalpels,
  razor blades and cellphones to inmates in return for thousands of
  dollars in bribes. Previous investigations at Rikers and other city jails
  used an undercover officer who was able to sneak drugs and a razor
  blade through employee entrances and into the jails.
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  A collage of photographs of Esias Johnson at his funeral after his death in
  custody. His father, Jerome Johnson said that despite mental health problems,
  “He was a good kid. He was a good man.” Credit... M. Scott Brauer for The New
  York Times


  Nonetheless, at least three inmates fatally overdosed last year.
  Thomas Braunson, 35, was found unconscious in a cell by another
  inmate on April 19, three days after he was arrested on a shoplifting
  charge in New Jersey.
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  He had become a father two months earlier. His death was caused by
  an overdose of fentanyl, heroin and PCP, the medical examiner later
  found. It remains under investigation how he obtained the drugs.

  “It took from him the one thing that he wanted,” said his sister, Allisa
  Braunson, 28, thinking about his infant daughter.

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  Esias Johnson was 23 when he was arrested in Queens in August,
  accused of chasing a man into a bank and threatening to stab him
  with a syringe and claiming to have AIDS. He had mental health
  problems throughout his life, his father, Jerome Johnson, said.

  But there was more to him: “Of all my children, he’s the one who got
  my gift of singing,” Mr. Johnson said. “He was a good kid. He was a
  good man.”

  He died a few weeks after he arrived at Rikers, a death the medical
  examiner is still investigating — the year’s 10th death in custody. Mr.
  Johnson said he was demanding a further explanation. “After one, you
  need to be investigating, Not after two, three and four.”




  Credit... M. Scott Brauer for The New York Times
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  As the year came to a close, the number stood at 16. Ms. Carter, the
  mother of Brandon Rodriguez, who was arrested after his return from
  working at the Indiana Wendy’s, offered an epitaph that could apply to
  all of the men who died in the jail system last year.

  “He was a person,” Ms. Carter said. “Not just a detainee.”

  Jan Ransom contributed reporting.

  Suicide Prevention Helplines: If you are having thoughts of suicide or
  are concerned that someone you know may be having those thoughts,
  in the United States call the National Suicide Prevention Lifeline at
  800-273-8255 (TALK) or go to SpeakingOfSuicide.com/resources for
  a list of additional resources. Go here for resources outside the United
  States.

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